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                    EXHIBIT A

               EXCERPT OF TEVA’S
JANUARY 20, 2025 NOTICE OF SUBPOENAS
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     New York, New York 10022
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10
     Attorneys for Plaintiff
11   Teva Pharmaceuticals USA, Inc.

12
                            IN THE UNITED STATES DISTRICT COURT
13                           NORTHERN DISTRICT OF CALIFORNIA
14                                    SAN JOSE DIVISION

15

16     TEVA PHARMACEUTICALS USA, INC.,                Case No: 5:24-cv-03567-BLF
17                   Plaintiff,                       NOTICE OF SUBPOENAS DIRECTED
18                                                    TO HEALTHCARE PROVIDERS
              v.
19
       CORCEPT THERAPEUTICS, INC., AND
20     OPTIME CARE INC.,
21                   Defendants.

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                     NOTICE OF SUBPOENAS DIRECTED TO HEALTHCARE PROVIDERS
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 1             PLEASE TAKE NOTICE THAT pursuant to Rule 45 of the Federal Rules of Civil Procedure,
 2   Plaintiff Teva Pharmaceuticals USA, Inc., by and through its undersigned attorneys, hereby serves
 3   upon all parties via service on all counsel of record, their Notice of Subpoenas to Brandi Addison,
 4   Robin M. Anderson, Lashelle F. Barmore, David R. Brown, Peter W. Butler, Elena A. Christofides,
 5   Pejman E. Cohan, Ralph A. Defronzo, Matthew T. Draelos, Bradley S. Eilerman, Daniel Einhorn,
 6   Todd William Frieze, Sandi Jo Galati, Alison Lynn Gracom, Stephen A. Harrison, Honey East, Jerry
 7   Back, Allan L. Kennedy, Elizabeth E. King, Laura A. Knecht, Eduardo Dusty Luna, Steven P. Manuli,
 8   Allan Marcus, Joseph Mathews, Jonathan G. Ownby, Kevin M. Pantalone, Phillip Rabito, University
 9   of Michigan Hospitals & Health Centers, UT MD Anderson Cancer Center, Jennifer Williams,
10   Hanford Yau, Matthew C. Young, and Kevin C. J. Yuen. Copies of each subpoena are attached
11   hereto.
12

13   Dated: January 20, 2025                  By: /s Michael Shipley
14
                                                Michael Shipley (SBN 233674)
15                                              KIRKLAND & ELLIS LLP
                                                555 South Flower Street, 37th Floor
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                       NOTICE OF SUBPOENAS DIRECTED TO HEALTHCARE PROVIDERS
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 1                                          CERTIFICATE OF SERVICE
 2             I, Jennifer Joslin, the undersigned, hereby declare as follows:
 3             I am a resident of the State of Utah, over the age of eighteen years, and not a party to this
 4   action.     I am employed by Kirkland & Ellis LLP, counsel of record for Plaintiff Teva
 5   Pharmaceuticals USA, Inc. My business and mailing address is 95 S. State St., Salt Lake City, UT
 6   84111.
 7             On January 20, 2025, I served and caused to be served true and correct copies of the following
 8   document(s):
 9                NOTICE OF SUBPOENA DIRECTED TO HEALTHCARE PROVIDERS
10   by sending them via electronic transmission to the following persons at the electronic mail addresses
     below:
11
      Robert W. Stone                                    Justin J. Fields
12    Adam B. Wolfson                                    Lucas C. Wohlford
      QUINN EMMANUEL URQUHART &                          DUANE MORRIS LLP
13    SULLIVAN, LLP                                      jfields@duanemorris.com
      roberstone@quinnemanuel.com                        lwohlford@duanemorris.com
14    adamwolfson@quinnemanuel.com
15
      Counsel for Corcept Therapeutics, Inc.                   Counsel for Optime Care Inc.
16
               I declare under penalty of perjury that the foregoing is true and correct.
17
      Executed this 20th day of January, 2025 in Salt Lake City, Utah.
18
               Dated: January 20, 2025
19                                                             Respectfully submitted, By: /s/ Jen Joslin
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                        NOTICE OF SUBPOENAS DIRECTED TO HEALTHCARE PROVIDERS
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TAB A: Subpoena to
  Brandi Addison




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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________  DistrictofofCalifornia
                                                                                __________
         TEVA PHARMACEUTICALS USA, INC.,
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 5:24-cv-03567-BLF
   CORCEPT THERAPEUTICS, INC., and OPTIME                                     )
                CARE INC.,
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                            Brandi Addison, 7121 S. Padre Island Dr. Ste. 300 Corpus Christi, TX 78412-4940
To:

                                                       (Name of person to whom this subpoena is directed)

    ✔
    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
            See attached Schedule A



 Place: Texas Civil Process                                                             Date and Time:
           924 Leopard St.
           Corpus Christi, Texas 78401 (or, electronically)                                                  02/07/2025 5:00 pm

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                   /s/ Devora W. Allon
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)       Teva
Pharmaceuticals USA, Inc.                                               , who issues or requests this subpoena, are:
Devora W. Allon, Kirkland & Ellis LLP, 601 Lexington Ave., New York, NY 10022; (212) 446-4800; Michael Shipley,
Kirkland & Ellis LLP, 555 South Flower St., Los Angeles, CA 90071; (213) 680-8400

                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                          Page 5
                  Case 5:24-cv-03567-BLF                       Document 71-2                Filed 01/30/25              Page 7 of 17
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 5:24-cv-03567-BLF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                                            Page 6

         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                       ATTACHMENT A

       In addition to the definitions and instructions set forth in Rules 26 and 34 of the Federal

Rules of Civil Procedure and any applicable instruction in the Local Rules or Orders of this Court,

the following definitions and instructions apply to each of the discovery requests set forth herein,

and are deemed to be incorporated in each of the requests.

                                           DEFINITIONS

       1.       The term “ANDA” means Abbreviated New Drug Application as defined in 21

U.S.C. § 355(j).

       2.       The terms “and” and “or,” as used herein, are to be construed conjunctively or

disjunctively as necessary to make the request inclusive rather than exclusive.

       3.       The terms “any” and “all,” as used herein, mean “any and all” and shall be

construed so as to bring within the scope of the request any information that otherwise might be

construed to be outside its scope.

       4.       The term “Authorized Generic” means an approved brand drug marketed as a

generic drug equivalent.

       5.       The term “communication,” as used herein, means and includes any transmission

or exchange of information between two or more Persons, whether orally or in writing, and

including but not limited to any conversation or discussion by means or letter, note, memorandum,

telephone, telegraph, telex, telecopy, fax transmission, cable, e-mail, voice message, or electronic

or any other medium.

       6.       The term “Complaint,” as used herein, refers to the complaints filed by Plaintiff

Teva, or the operative versions thereof.

       7.       The term “concerning” means relating to, referring to, describing, evidencing, or

constituting.

       8.       The terms “Corcept” means Defendant Corcept Therapeutics, Inc., as well as all of

Your predecessors and successors thereof, any of their former or current affiliates, parents, or




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subsidiaries, and any of their directors or officers, as well as any employees, agents,

representatives, or other persons acting or purporting to act on behalf of the foregoing.

       9.      The term “Corcept-Dohmen Agreement” refers to any agreement between Corcept

and Dohmen relating to Korlym, Authorized Generic Korlym, Generic Korlym, or Teva.

       10.     The term “Corcept-Optime Agreement” refers to any agreement between Corcept

and Optime relating to Korlym, Authorized Generic Korlym, Generic Korlym, or Teva.

       11.     The term “Corcept-Teva Patent Litigation” means the cases captioned Corcept

Therapeutics, Inc. v. Teva Pharmaceuticals USA, Inc. et al., No. 1:18-cv-03632-RMB-LDW

(D.N.J.), Corcept Therapeutics, Inc. v. Teva Pharmaceuticals USA, Inc. et al., No. 2:19-cv-05066-

SDW-CLW (D.N.J.), Corcept Therapeutics, Inc. v. Teva Pharmaceuticals USA, Inc. et al., No.

2:19-cv-21384-SDW-LDW (D.N.J.), and Corcept Therapeutics, Inc. v. Teva Pharmaceuticals

USA, Inc. et al., No. 1:23-cv-01505-RMB-LDW (D.N.J.), and any related cases.

       12.     The term “date,” as used herein, means the exact day, month, and year, if

ascertainable, or if not, the best approximation.

       13.     The terms “describe” or “description,” as used herein, means to state all facts of

which You are aware concerning the subject, including but not limited to identifying any dates,

any person involved in or with knowledge of the subject, and any places or locations relevant to

the subject.

       14.     The term “document,” as used herein, means the original and all non-identical

copies of any handwritten, printed, typed, recorded, or graphic or photographic material of any

kind and nature, including all drafts thereof and all mechanical or electronic sound recordings or

transcripts thereof, however produced or reproduced, and including but not limited to accounting

materials, accounts, agreements, analyses, appointment books, books of account, calendars,

catalogs, checks, computer data, computer disks, computer generated or stored information,

computer programming materials, contracts, correspondence, date books, diaries, diskettes,

drawings, electronic mail (“e-mail”) messages, faxes, guidelines, instructions, inter-office

communications, invoices, ledgers, letters, licenses, logs, manuals, memoranda, metadata,


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microfilm, minutes, notes, opinions, payments, plans, receipts, records, regulations, reports,

statements, studies, surveys, telegrams, telexes, timesheets, vouchers, word processing materials

(however stored or maintained) and working papers, and all other means by which information is

stored for retrieval in fixed form.

       15.       The term “Dohmen,” as used herein, means Dohmen Life Sciences Services, LLC,

as well as all of its predecessors and successors thereof, any of their former or current affiliates,

parents, or subsidiaries, and any of their directors or officers, as well as any employees, agents,

representatives, or other persons acting or purporting to act on behalf of the foregoing.

       16.       The term “FDA” means the United States Food and Drug Administration, including

subdivisions, units, divisions, centers, offices, committees and any employee, officer, or other

agent thereof.

       17.       The terms “Generic,” “generically equivalent product,” or “generic drug

equivalent” mean a pharmaceutical or drug product that has been submitted to, or deemed by, the

FDA as meeting necessary requirements to be bioequivalent or therapeutically equivalent to a

branded product, as such is defined by the FDA.

       18.       The term “identify” means:

             1. When referring to a person, to identify means to give, to the extent known, the

                 person’s full name, present or last known address, and when referring to a natural

                 person, additionally, the present or last known place of employment;

             2. When referring to a Document, to identify means to give, to the extent known, the

                 (i) type of Document; (ii) general subject matter; (iii) date of the Document; and

                 (iv) author(s), addressee(s), and recipient(s).

       19.       The term “Healthcare Professional” means any person who, in the course of his or

her professional activities, may prescribe, recommend, purchase, supply, sell, or administer a

pharmaceutical product.

       20.       The term “Korlym” means all pharmaceutical products that were or are labeled,

marketed, or sold under the trademark or name “Korlym” (or any variant thereof), regardless of


                                                    3
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the dosage strength or package size, including but not limited to, the pharmaceutical products

described in the New Drug Application No. 202107, as well as any supplements thereto or generic

version thereof, including any authorized generic version thereof.

        21.     The term “Korlym Litigation Patents” means the ‘348 patent, the ‘495 patent, the

‘214 patent, the ‘800 patent, the ‘801 patent, the ‘526 patent, the ‘242 patent, the ‘243 patent, and

the ‘216 patent.

        22.     The term “NDA” means New Drug Application as defined in 21 U.S.C. § 355.

        23.     The term “non-physician practitioner” means any healthcare professional who

offers medical services and is not a physician, including anyone who is not a physician and had

the actual or apparent authority to prescribe or recommend Korlym or generically equivalent

products, and anyone who is not a physician and You believed had the authority to prescribe or

recommend Korlym or generically equivalent products, as well as any employees, agents,

representatives, or other persons acting or purporting to act on behalf of any such non-physician

practitioner.

        24.     The term “Optime,” as used herein, means Defendant Optime Care Inc., as well as

all of its predecessors and successors thereof, any of their former or current affiliates, parents, or

subsidiaries, and any of their directors or officers, as well as any employees, agents,

representatives, or other persons acting or purporting to act on behalf of the foregoing.

        25.     The term “Orange Book” means the FDA publication Approved Drug Products

with Therapeutic Equivalence Evaluations.

        26.     The term “Orphan Drug Designation” refers to a drug’s status as an “orphan” under

the Orphan Drug Act of 1983.

        27.     The terms “Paragraph IV Certification” refers to a certification issued by a generic

manufacturer under the Hatch-Waxman Act, 21 U.S.C. § 355(j)(2)(A)(vii)(IV).

        28.     The term “person” means any natural person or any legal entity, including, without

limitation, any business or governmental entity or association.




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        29.    The term “physician” means any healthcare professional who has the actual or

apparent authority to practice medicine, including anyone who had the actual or apparent authority

to prescribe Korlym or generically equivalent products, and anyone You believed had the authority

to prescribe Korlym or generically equivalent products, as well as any employees, agents,

representatives, or other persons acting or purporting to act on behalf of any such physician.

        30.    The terms “related to,” “relate to,” “regarding,” “relating to,” “about,” and

“concerning,” as used herein, mean mentioning, citing, quoting, regarding, involving,

representing, constituting, discussing, reflecting, identifying, describing, referring to, containing,

enumerating, evidencing, supporting, or in any way concerning, in whole or in part, directly or

indirectly.

        31.    The “Relevant Time Period” is February 1, 2012 to the present date unless

otherwise specified.

        32.    The term “Teva,” as used herein, means Plaintiff Teva Pharmaceuticals USA, Inc.,

as well as all of its predecessors and successors thereof, any of their former or current affiliates,

parents, or subsidiaries, and any of their directors or officers, as well as any employees, agents,

representatives, or other persons acting or purporting to act on behalf of the foregoing.

        33.    The term “Transfer of Value” means any payment or other form of compensation,

including cash, in-kind items, services, travel expenses, meals, consulting fees, research funding,

and stock options.

                                         INSTRUCTIONS

        1.     The terms defined above and the individual requests for production and inspection

are to be construed broadly to the fullest extent of their meaning in a good faith effort to comply

with the Federal Rules of Civil Procedure.

        2.     Unless otherwise specified, (a) the singular includes the plural and vice versa, and

(b) the present tense includes the past tense and vice versa. Terms ‘and’ and ‘or’ shall be construed

inclusively rather than exclusively.




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       3.      If You have any good faith objections to any request or any part thereof, the specific

nature of the objection and whether it applies to the entire request or to a part of the request shall

be stated. If there is an objection to any part of a request, then the part objected to should be

identified and documents responsive to the remaining unobjectionable part should be timely

produced.

       4.      Any alteration of a responsive document, including notes, underlining, stamps,

drafts, revisions, modifications, and other versions of a final document, is a separate document and

is to be produced as a separate document.

       5.      Each request shall be answered on the basis of Your entire knowledge, from all

sources, after a reasonable and good faith inquiry has been made and a search has been conducted.

       6.      Pursuant to Rule 45(e) of the Federal Rules of Civil Procedure, documents shall be

produced: (a) as maintained in the ordinary course of business, with associated labels and folders,

or (b) organized to correspond to specific requests. All documents containing markings thereon

that cannot be legibly or accurately copied shall be produced in their original form; otherwise, You

may produce photocopies. Each page shall be given a unique production number.

       7.      For documents withheld on grounds of privilege, provide a privilege log containing:

(a) document date, (b) author(s) and recipient(s), (c) general subject matter, and (d) basis for the

privilege claim.

                              DOCUMENTS TO BE PRODUCED

       1.      All Documents and Communications relating to, referring to, reflecting, or

evidencing any Transfer of Value from Corcept, Optime, or their representatives to You, including

documents sufficient to identify the reason(s) for any Transfer of Value, including any research or

non-research grants, any medical director fees, speaker payments, or other benefits.

       2.      All Documents and Communications relating to, referring to, reflecting, or

evidencing any agreements or contracts between You and Corcept or Optime, including final

executed agreements and amendments and any draft agreements and related negotiations.




                                                  6
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       3.      All Communications between You and Corcept, or Optime, or any other Healthcare

Professional relating to brand Korlym, Authorized Generic Korlym, generic Korlym, Teva, or any

potential manufacturer of generic Korlym.

       4.      All Documents and Communications that You produced, served, received, or

exchanged in connection with the investigation of Corcept and/or Optime and/or You and/or any

other Healthcare Professional by any State or Federal government agency, including the United

States Attorney’s Office for the District of New Jersey, related to Korlym, Authorized Generic

Korlym, and/or generic Korlym. For avoidance of doubt, this Request includes all such documents

and communications that were served on (or otherwise made available to) any State or Federal

government agency (including the United States Attorney’s Office for the District of New Jersey),

including but not limited to letters, discovery requests and responses, privilege and other logs of

withheld documents, production logs, memoranda and exhibits thereto, briefs and exhibits thereto,

affidavits and declarations and exhibits thereto, and all other documents generated or used by any

party or nonparty in this investigation.

       5.      All Communications between You (including Your counsel) and any agency of the

United States government or of any State government, regarding the investigation of Corcept

and/or Optime and/or You and/or any other Healthcare Professional, related to Korlym,

Authorized Generic Korlym, and/or generic Korlym, by any State or Federal government agency,

including the United States Attorney’s Office for the District of New Jersey.

       6.      All Communications between You and Corcept or Optime—including

correspondence between counsel—relating to or referring to the investigation of Corcept and/or

Optime and/or You and/or any other Healthcare Professional, related to Korlym, Authorized

Generic Korlym, and/or generic Korlym, by any State or Federal government agency, including

by the United States Attorney’s Office for the District of New Jersey.

       7.      Documents sufficient to show any services, tools, resources, or other forms of

assistance provided to You by Corcept, Optime, or any third party, for use in prescribing,




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recommending, or treating patients with brand Korlym and/or Authorized Generic Korlym,

including any start forms, referral forms, or prescription forms.

       8.      Documents sufficient to show any services, tools, resources, or other forms of

assistance provided to You by Corcept, Optime, or any third party, for use in requesting or

receiving reimbursement for a prescription of brand Korlym and/or Authorized Generic Korlym

from any health insurer, including any private or government payor.

       9.      Documents sufficient to show any marketing message, advertisements, or

promotional materials relating to brand Korlym and/or Authorized Generic Korlym.

       10.     All Documents and Communications relating or referring to any pharmacy other

than Optime through which You considered or discussed submitting prescriptions for brand

Korlym, Authorized Generic Korlym, and/or generic Korlym.

       11.     All Documents and Communications relating to, referring to, reflecting, or

evidencing Your decision to submit prescriptions for brand Korlym, Authorized Generic Korlym,

and/or generic Korlym to Optime, including documents sufficient to show Your reasons or

justifications for such decision.

       12.     All Documents and Communications relating or referring to the cost, safety, and/or

efficacy of generic Korlym, brand Korlym, and/or Authorized Generic Korlym.

       13.     All Documents and Communications relating or referring to the impact on patients

of prescribing brand Korlym and/or Authorized Generic Korlym rather than generic Korlym.




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